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7
8                                      IN THE UNITED STATES DISTRICT COURT
9                                  FOR THE EASTERN DISTRICT OF CALIFORNIA
10
11   UNITED STATES OF AMERICA,                                     Case No. 1:24-cr-00088-JLT
12                           Plaintiff,                            STIPULATION TO MODIFY
                                                                   CONDITIONS OF PROBATION AND
13   vs.                                                           DEFENDANT’S MOTION TO DISMISS
                                                                   APPEAL; ORDER
14   ABRAHAM AGUIRRE,
                                                                   JUDGE: Hon. Jennifer L. Thurston
15                           Defendant.
16
17            IT IS HEREBY STIPULATED by and between the parties, through their respective
18   counsel, Assistant United States Attorney Chan Hee Chu, counsel for plaintiff, and Assistant
19   Federal Defender Laura Myers, counsel for defendant Abraham Aguirre, that the Court may
20   modify the conditions of Mr. Aguirre’s term of probation pursuant to 18 U.S.C. § 3563(c).
21   Modification by this Court is particularly appropriate given that the appeal is pending before this
22   Court and the appeal concerns rulings by the assigned magistrate court. Specifically, the parties
23   agree that the Court may modify Condition 6 to require Mr. Aguirre to complete a three-month
24   First-Offender DUI program through the California Department of Motor Vehicles, rather than
25   the 18-month Multi-Offender DUI program. In addition, the Court may modify the relevant
26   deadlines in Condition 6 to require enrollment in the course by September 30, 2024, and
27   completion of the course by March 15, 2025. The parties further agree that the Court may add
28   Condition 8 ordering Mr. Aguirre to complete 50 hours of community service by March 15,

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1    2026. In exchange for the government’s agreement to modify the conditions of his probation,
2    Mr. Aguirre moves to dismiss the pending appeal.
3             The parties request that the Court make the following findings:
4             (1)        Pursuant to 18 U.S.C. § 3401(f) and 18 U.S.C. § 3563(c), this Court may modify
5    Mr. Aguirre’s conditions of probation;
6             (2)        A hearing is not required under Federal Rule of Criminal Procedure 32.1(c), as
7    Mr. Aguirre waives the hearing and, moreover, the relief sought is favorable to Mr. Aguirre, does
8    not extend the term of probation, and counsel for the government does not object to the
9    modification;
10            (3)        The proposed modifications of probation are an appropriate means of dispensing
11   with the pending appeal given the potentially colorable issues presented and in the interest of
12   conserving the Court’s limited time and resources; and
13            (4)        The proposed modifications of probation are reasonable in light of the following
14   circumstances:
15                       (a)        Mr. Aguirre surrendered to the U.S. Marshal on May 24, 2024, as ordered,
16                                  and served the custodial portion of his sentence;
17                       (b)        Mr. Aguirre paid the $20 special assessment prior to May 30, 2024, as
18                                  ordered;
19                       (c)        California law does not require a Multi-Offender DUI course if the prior
20                                  offense occurred more than 10 years ago, and Mr. Aguirre’s prior
21                                  convictions occurred in 1990 and 1992;
22                       (d)        The nearest DUI school to Mr. Aguirre’s home in Ridgecrest is
23                                  T.A.A.S.K. in Tehachapi, which is more than 70 miles away. Under the
24                                  California Vehicle Code, state-certified DUI programs cannot be
25                                  completed online. For each two-hour session, Mr. Aguirre, an indigent
26                                  defendant, will need to rely on friends or public transportation to make the
27                                  nearly three-hour round trip; and
28                       (e)        While this hardship will also exist for the three-month class, the additional

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1                                   time and expense will be far more sustainable over a three-month period
2                                   than an 18-month period. Thus, the proposed modification will promote
3                                   Mr. Aguirre’s rehabilitation by ensuring his success in the program is not
4                                   excessively hindered by factors beyond his control.
5             Accordingly, the parties hereby request that the Court modify Condition 6 to require
6    Mr. Aguirre to complete a three-month First-Offender DUI program through the California
7    Department of Motor Vehicles and add Condition 8 to require Mr. Aguirre to complete 50 hours
8    of community service. Mr. Aguirre hereby moves to withdraw his appeal upon the Court’s
9    approval of this stipulation.
10
11                                                                 Respectfully submitted,
12
13                                                                 PHILLIP A. TALBERT
                                                                   United States Attorney
14
15   Date: June 26, 2024                                           /s/ Chan Hee Chu
                                                                   CHAN HEE CHU
16                                                                 Assistant United States Attorney
                                                                   Attorney for Plaintiff
17
18                                                                 HEATHER E. WILLIAMS
                                                                   Federal Defender
19
20   Date: June 26, 2024                                           /s/ Laura Myers
                                                                   LAURA MYERS
21                                                                 Assistant Federal Defender
                                                                   Attorney for Defendant
22                                                                 ABRAHAM AGUIRRE
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1                                                                  ORDER
2             Upon the parties’ stipulation and for good cause shown, the Court hereby modifies
3    Condition 6 to read: The defendant shall complete a three-month First-Offender DUI program
4    through the California Department of Motor Vehicles. Enroll by: 9/30/2024. Complete by:
5    3/15/2025.
6             The Court adds Condition 8 to read: The defendant shall complete 50 hours of
7    community service by 3/15/2026 at an organization approved by the government.
8             The Court grants the defendant’s motion to withdraw the pending appeal.
9
10   IT IS SO ORDERED.
11
         Dated:         June 27, 2024
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